   Case 1:23-cv-01104-MN Document 5 Filed 10/16/23 Page 1 of 1 PageID #: 29




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 SHANTELL D. NEWMAN,                             )
                                                 )
                       Plaintiff,                )
                                                 )
                v.                               )   C.A. No. 23-1104 (MN)
                                                 )
 HUNTER BIDEN, JR.,                              )
                                                 )
                       Defendant.                )

                                            ORDER

       At Wilmington, this 16th day of October 2023, the Court having considered the application

to proceed in District Court without prepaying fees or costs under 28 U.S.C. § 1915 (D.I. 1), IT IS

HEREBY ORDERED that the application is GRANTED.




                                                     The Honorable Maryellen Noreika
                                                     United States District Judge
